

People v Castle (2021 NY Slip Op 05649)





People v Castle


2021 NY Slip Op 05649


Decided on October 14, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 14, 2021

Before: Kapnick, J.P., Singh, Shulman, Pitt, Higgitt, JJ. 


SCI No. 3059/16 Appeal No. 14385 Case No. 2018-1537 

[*1]The People of The State of New York, Respondent, 
vJermane Castle, Defendant-Appellant.


Janet E. Sabel, The Legal Aid Society, New York (IvÁn B. Pantoja of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Elliott R. Hamilton of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, Bronx County (Toni Cimino, J.), rendered December 14, 2016,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 14, 2021
Counsel for appellant is referred to § 606.5, Rules of the Appellate Division, First Department.








